     Case 2:20-cv-06587-JVS-ADS Document 28 Filed 07/29/20 Page 1 of 1 Page ID #:103
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 Erica Reiners, et al.,                                                     CASE NUMBER
                                                             Plaintiff(s)
                                v.                                                                CV 20-06587JVS(ADSx)

 Chou Team Realty, LLC d/b/a MonsterLoans, Lend Tech                             ORDER ON APPLICATION OF NON-
 Loans, Inc., Sean Cowell, Thomas Chou, Mikael Van Loon,                       RESIDENT ATTORNEY TO APPEAR IN A
 Jawad Nesheiwat, and Eduardo Martinez,
                                              Defendant(s).
                                                                                   SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Smith, Taylor T.                                                                    of      Woodrow & Peluso, LLC
  Applicant’s Name (Last Name, First Name & Middle Initial                                    3900 E. Mexico Ave., Suite 300
  720-907-7628                                303-927-0809                                    Denver, Colorado 80210
  Telephone Number                            Fax Number
  tsmith@woodrowpeluso.com
                                 E-Mail Address                                               Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  Plaintiff Erica Reiners


  Name(s) of Party(ies) Represent                                      Plaintiff(s) ☐ Defendant(s) ☐ Other:
and designating as Local Counsel
  Aftergood, Aaron D.                                                                   of     The Aftergood Law Firm
  Designee’s Name (Last Name, First Name & Middle Initial                                      1880 Century Park East, Suite 200
  239853                          310-551-5221                   (310) 496-2840                Los Angeles, California 90067
 Designee’s Cal. Bar No.             Telephone Number                 Fax Number
  aaron@aftergoodesq.com
                                E-Mail Address                                          Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☒GRANTED
  ☐DENIED:                ☐    for failure to pay the required fee.
                          ☐    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                          ☐    for failure to complete Application:
                          ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                               is regularly employed or engaged in business, professional, or other similar activities in California.
                          ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                               District.
                          ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: July 29, 2020
                                                                                             U.S. District Judge James V Selna

 G-64 Order (05/16)       (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
